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4
     Attorney for Defendant
5    BALKAR SINGH

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7
                              IN THE UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA                       No. 2:13-cr-0006 MCE
11
                               Plaintiff,           STIPULATION AND ORDER TO
12
                                                    CONTINUE STATUS CONFERENCE
          v.
13

14   BALKAR SINGH, et, al.,
15                          Defendants.
16

17          Defendant BALKAR SINGH, by and through his counsel of record, Plaintiff United
18   States of America, by and through its counsel of record, and defendants, by and through
19
     their counsel of record, hereby stipulate as follows:
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            1. The Court previously continued this matter to December 4, 2014.
21
            2. By this stipulation, defendants now move to continue the status conference until
22

23   February 19, 2015, and to exclude time between December 4, 2014, and February 19,

24   2015, at 9:00 AM, under Local Code T4.

25          3. The parties agree and stipulate, and request that the Court find the following:
26                 A. Presently there are four defendant’s remaining. However there are multiple
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     related cases and this case has been ruled complex in the past.
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1                   B. Each of the four defendants continues to be engaged in significant plea
2    negotiations and it is anticipated that all defendants will enter pleas or set this matter for
3
     trial on the next date.
4
                    C. Defendant’s are not english speakers and the number of Punjabi
5
     interpreters is limited.
6

7                   D. Immigration issues are complex.

8                   E. At least two of the defendant’s must rely upon others for transportation to

9    Sacramento.
10
            4. All parties believe that failure to grant the above-requested continuance would
11
     deny them the reasonable time necessary for effective preparation, taking into account the
12
     exercise of due diligence.
13
            5. The government does not object to the continuance.
14

15          6. Base on the above-stated findings, the ends of justice served by continuing the

16   case as requested outweigh the interest of the public and the defendant in trial within the
17   original date prescribed by the Speedy Trial Act.
18
            7. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
19
     et seq., within which trial must commence, the time period of December 4, 2014 to
20
     February 19, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161 (h)(7)(A),
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22   B(iv) [Local Code T4] because it results from a continuance granted by the Court at

23   defendant’s request on the basis of Court’s finding that the ends of justice served by taking

24   such action outweigh the best interest of the public and the defendant at speedy trial.
25          8. Nothing in this stipulation and order shall preclude a finding that other provisions
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     of the Speedy Trial Act dictate that additional time periods are excludable from the period
27
     within which a trial must commence.
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1    IT IS SO STIPULATED.
2                                                     Respectfully submitted,
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             Dated: December 1, 2014                  By: /s/ Dwight M Samuel
4                                                     DWIGHT SAMUEL
                                                      Attorney for Defendant
5                                                     BALKAR SINGH
6
             Dated: December 1, 2014                  BENJAMIN WAGNER
7                                                     United States Attorney
8                                                       /s/ Dwight M Samuel for
                                                      JARED C. DOLAN
9                                                     Assistant U.S. Attorney

10
             Dated: December 1, 2014                    /s/ Dwight M Samuel for
11
                                                      MICHAEL BIGELOW
12                                                    Attorney for Defendant
                                                      HARVINDER KAUR
13
             Dated: December 1, 2014                    /s/ Dwight M Samuel for
14                                                    A. STANLEY KUBOCHI
                                                      Attorney for Defendant
15
                                                      SUKHWINDER KAUR
16

17           Dated: December 1, 2014                    /s/ Dwight M Samuel for
                                                      DAVID DELMER FISCHER
18                                                    Attorney for Defendant
                                                      AVTAR KAUR BAINS
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         Case 2:13-cr-00006-MCE Document 186 Filed 12/02/14 Page 4 of 4


1
                                                ORDER
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3            For the reasons set forth in the foregoing Stipulation of Counsel, IT IS ORDERED
4    THAT:
5            The Status Conference now set for December 4, 2014, at 9:00 a.m. is VACATED,
6    and the above-captioned matter is set for Status Conference on February 19, 2015, at 9:00
7    a.m.
8            The Court finds excludable time in this matter through February 19, 2015, under 18
9    U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity of counsel and
10   reasonable time necessary for effective defense preparation. For the reasons stipulated by
11   the parties, the Court further finds that the interest of justice served by granting the request
12   outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
13   §3161(h)(7)(B)(iv) and Local Code T4.
14           IT IS SO ORDERED.
15
     DATED: December 2, 2014
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                                                MORRISON  N C. ENGLLAND, JR, C
                                                                             CHIEF JUDG  GE
19                                              UNITED ST TATES DISSTRICT COU  URT

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